
USCA1 Opinion

	













                            United States Court of Appeals
                            United States Court of Appeals
                                For the First Circuit
                                For the First Circuit



                                [Not for Publication]
                                 ____________________


        No. 96-1456

                         CARLOS ALBERTO TARANAS DE MEDEIROS,

                                     Petitioner,

                                          v.

                       IMMIGRATION AND NATURALIZATION SERVICE,

                                     Respondent.


                                 ____________________


                           PETITION FOR REVIEW OF AN ORDER

                         OF THE BOARD OF IMMIGRATION APPEALS

                                 ____________________

                                        Before

                                Boudin, Stahl and Lynch
                                    Circuit Judges
                                    ______________



                                 ____________________

            Gary A. Pappas was on brief for petitioner.
            ______________
            Frank W.  Hunger, Assistant  Attorney General, with whom  David M.
            ________________                                          ________
        McConnell,  Assistant Director, Office of Immigration Litigation, were
        _________
        on brief for respondent.
                                 ____________________

                                   October 25, 1996
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                      PER CURIAM.  Carlos  Alberto Taranas de Medeiros, a
                      PER CURIAM.

            citizen  of Portugal and  a lawful permanent  resident of the

            United States since 1970, challenges the Board of Immigration

            Appeals' denial  of his  request for relief  from deportation

            under Immigration  and Nationality Act    212(c), 8  U.S.C.  

            1182(c).  He does not appeal the  Board's decision that he is

            deportable under INA   241(a)(4),1 8 U.S.C.   1251(a)(4).  We

            affirm.2

                                
            ____________________

            1.  The  statute codified at   241(a)(4) at the time of these
            proceedings  is presently codified  at    241(a)(2)(A)(ii), 8
            U.S.C.   1251(a)(2)(A)(ii).

            2.  The  recently enacted  Antiterrorism and  Effective Death
            Penalty Act  of 1996  (AEDPA), P.L.  104-132, 110 Stat.  1214
            (Apr.  24, 1996) does not affect this appeal.  Section 440(a)
            of AEDPA on its  face deprives the federal appeals  courts of
            jurisdiction  to  review deportation  orders  entered against
            aliens who  are deportable for, inter  alia, having committed
                                            _____  ____
            two  crimes  involving  moral  turpitude,  but  this  bar  to
            judicial  review  does  not  apply unless  both  crimes  were
            committed within five years after the alien's entry  into the
            United States.
                      Section 440(a)  of AEDPA states:   "Any final order
            of deportation against an alien by reason of having committed
            a criminal offense . . . covered  by section 241(a)(2)(A)(ii)
            for  which both  predicate  offenses are  covered by  section
            241(a)(2)(A)(i),  shall  not  be  subject to  review  by  any
            court."  In essence, then, the AEDPA jurisdictional provision
            applies to cases  in which  aliens found  deportable under   
            241(a)(2)(A)(ii)  (two  crimes  of moral  turpitude  any time
            after  entry  not arising  out  of  same  scheme of  criminal
            misconduct) also meet the standards of   241(a)(2)(A)(i) (one
            crime  of moral  turpitude within  5 years  after entry,  for
            which  a sentence of  one year or  more may be  imposed).  In
            Medeiros's  case,  both  of  the two  crimes  supporting  the
            finding of his deportability were committed in 1984, 14 years
            after his  entry into the  country.  Thus,  although Medeiros
            was found to be deportable based upon his convictions for two
            crimes involving  moral turpitude,  neither of  the predicate
            offenses  are covered  by    241(a)(2)(A)(i),  and thus  this
            court has jurisdiction to review the case.

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                      Our review in   212(c) cases is solely for abuse of

            discretion.   Chen  v. INS,  87 F.3d  5,  8 (1st  Cir. 1996);
                          ____     ___

            Gouveia v. INS,  980 F.2d 814, 817 (1st Cir.  1992).  We have
            _______    ___

            said that there are three ways in which the Board  can commit

            an  abuse  of  discretion:   "by  neglecting  to  consider  a

            significant   factor   that   appropriately  bears   on   the

            discretionary decision, by attaching  weight to a factor that

            does not appropriately bear on  the decision, or by  assaying

            all the  proper factors and no improper ones, but nonetheless

            making  a clear judgmental error in weighing them."  Henry v.
                                                                 _____

            INS, 74 F.3d 1, 4  (1st Cir. 1996).  Medeiros makes  no claim
            ___

            that the  Board ignored  a relevant  factor or  considered an

            irrelevant  one.   His  sole  contention  is that  the  Board

            improperly weighed the factors.

                      Where "the record  reflects a  plausible basis  for

            the  Board's determination," however,  "we are constrained to

            find that the Board acted well within its broad discretionary

            powers in refusing to grant the waiver."  Chen, 87 F.3d at 9.
                                                      ____

            The record before  the Board,  with its  ample references  to

                                
            ____________________

                      It is  similarly clear  that AEDPA does  not render
            Medeiros  ineligible to seek   212(c) relief.  AEDPA   440(d)
            amended  INA    212(c)  in much  the same  way that    440(a)
            amended the INA's appellate  review section.  Section 212(c),
            as amended by  AEDPA, bars from  seeking relief aliens  found
            deportable  "by  reason  of  having  committed  any  criminal
            offense covered  in section  241(a)(2)(A)(ii) for which  both
            predicate offenses are  covered by section  241(a)(2)(A)(i)."
            As discussed  above, Medeiros'  offenses, committed  14 years
            after  his entry  into  the country,  are  not covered  by   
            241(a)(2)(A)(i).

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            Medeiros's considerable criminal activity,3  clearly reflects

            a plausible basis for the denial of the waiver.  This case is

            on  all fours with our  decision in Gouveia,  where we upheld
                                                _______

            the Board's  discretionary denial  of    212(c)  relief to  a

            deportable alien.  In Gouveia,  as here, the Board adequately
                                  _______

            "took  into account  petitioner's  familial equities,  . .  .

            lengthy period of residency,  and numerous positive character

            references."  Gouveia, 980 F.2d at 818-19.  And in that case,
                          _______

            as  here,  "[t]he Board's  decision  makes  manifest that  it

            appropriately considered  the entire panoply  of positive and

            negative  factors  in declining  to  grant  a  waiver."   Id.
                                                                      ___

            Finally,  in Gouveia, as here,  the Board decided  in the end
                         _______

            "that  petitioner's equities  did  not  sufficiently tip  the

            scales."  Id.
                      ___

                      Because we look only for an abuse of discretion, it

            is  not our place to substitute our judgment for the judgment

            of the  Board.  See Henry,  74 F.3d at 7  ("A reviewing court
                            ___ _____

                                
            ____________________

            3.  Medeiros's criminal  record includes, in addition  to the
            two assault  and battery convictions (which  formed the basis
            of the finding of deportability):  threatening, breaking, and
            entering  in the  nighttime  with intent  to commit  larceny;
            receiving stolen property; possession of a Class C controlled
            substance  with intent  to dispense;  unlawful carrying  of a
            dangerous  weapon;   loitering;  unlawful  possession   of  a
            dangerous weapon; unlawful possession of a Class D controlled
            substance; disorderly conduct; disturbing the peace; open and
            gross lewdness; armed assault  in a dwelling; intimidation of
            a witness;  malicious destruction of property  valued at less
            than $100; non-support of  a minor child; and  numerous motor
            vehicle licensing and registration infractions.  One of these
            criminal convictions -- for  disorderly conduct -- came after
            the INS instituted the deportation proceedings against him.

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            may not reweigh the equities afresh.");  Gouveia, 980 F.2d at
                                                     _______

            819  ("We refuse to second-guess  the Board on  the manner in

            which  it  weights different  factors  when  arriving at  its

            ultimate decision.").   The Board's decision  was "a judgment

            call, pure and simple," id. at 819, and there is no reason to
                                    ___

            call it into question.4

                      Petitioner's  argument boils down to the contention

            that   212(c) relief  should have been granted as a matter of

            law  after he met  the burden,  imposed on  him by  Matter of
                                                                _________

            Buscemi,  19 I. &amp; N.  Dec. 628 (1988),5  of demonstrating his
            _______

            unusual  and  outstanding equities.    This  is an  untenable

            notion.   The petitioner's demonstration of  equities in this

            type of  case is the beginning  of the story, not  the end of

            it.   See Gouveia, 980 F.2d  at 816 ("[E]ven the  presence of
                  ___ _______

            preponderant equities or equities  that in the abstract could

            qualify  as 'unusual'  or 'outstanding'  does not  compel the

            Board  to grant  [  212(c)]  relief."); Henry,  74 F.3d  at 7
                                                    _____


                                
            ____________________

            4.  Contrary to Medeiros's suggestion, there is nothing amiss
            with  the   BIA's  "adopt[ion]  [of]  the   contents  of  the
            Immigration  Judge's decision."   As  this court  pointed out
            earlier this year,  "if the Board's view is that  the IJ 'got
            it right,' the law does not demand  that the Board go through
            the idle motions  of dressing  the IJ's findings  in its  own
            prose."  Chen, 87 F.3d at 7-8.
                     ____

            5.  Under  Buscemi,  an  alien  facing  deportation  who  has
                       _______
            exhibited,  inter  alia,  a   pattern  of  serious   criminal
                        _____  ____
            misconduct must meet this higher burden  to justify the grant
            of   212(c) relief.  Id.  at 633-34; see also Hazzard v. INS,
                                 ___             ___ ____ _______    ___
            951  F.2d  435,  438 (1st  Cir.  1991).    Medeiros does  not
            challenge the applicability of Buscemi to his case.
                                           _______

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            ("Adjustment of status is not an entitlement, but, rather, an

            extraordinary  remedy.  The  Board need not  make the anodyne

            available to  all who theoretically  qualify."); cf. Hazzard,
                                                             ___ _______

            951 F.2d at  438 ("Neither the  BIA nor this  court has  ever

            held  that  a  finding  of   'outstanding  equities'  compels

            allowance   of  a   waiver   of  excludability."   (citations

            omitted)).   The Board is  charged with balancing the alien's

            adverse factors against his equities in reaching its decision

            about  the availability of   212(c) relief.  Matter of Marin,
                                                         _______________

            16 I. &amp; N. Dec.  581, 584 (BIA 1978).   This is exactly  what

            the Board did in this case.  Affirmed.                       

                                                                         





























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